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PETER SZANTO 949-837-2369
11 Shore Pine
Newport Beach CA 92657

United States Bankruptcv CourtCLM$_

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in and for the District of OREGON
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1001 sw 5 h Av.. Pomand oR 97204 '

' "~lD 1 A_ "‘Ii`.=¢'§
ln Re Peter Szanto, Debtor Adversarla| # 16'35'3“4
““““““““““““““““““““ CO|'€ CaSe:16-bk-331 85-pcm7

Peter Szanto, P|aintiff

 

 

v_.¢,_ P|aintiff Peter Szanto’s
Evye Szanfo. et al, Notice of Motion and Motion
Defe"da"ts to Extend Tria| Date

 

 

 

 

 

1. introduction

To the Court and the defendants, please take notice, plaintiff herewith
makes l\/lotion to Extend the Time of Tria| in this matter from December 11,

2018 to some other mutually agreeable date.

As explained below, a surprise, unexpected event has occurred Which

necessitates an extension of the trial date.

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2. Pre-filinq Certifica_tion

P|aintiff contacted defendants’ counsel lVlr. Henderson by telephone

on 9-19-2018 regarding conferral as to the issues herein.

As of the signing of this application and its declarations, plaintiff has

received no conferral response from any of defendants’ counsels.

Therefore, per LBR 7007-1(a)(1)(B). | have made reasonable efforts
to confer, but the opposing party refused to confer in good faith and did not

respond to movant’s requests.

l declare under penalty of perjury under the laws of the United States
that the foregoing is true and correc},?§igned at Los Angeles CA.

DATED 9-22-2018 (2 ~"t/””`~ Peter Szanto

3. A lication to Extend Date of Tria|

 

On September 19, 2018, debtor received `[EXH|B|T A] Which is notice
setting trial in the Tax Court for December 10, 2018.

Although dated July 11, 2018, the notice arrived only on 9-19-18.

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The reason for delay was the time in transit while the notice was

forwarded through the United States mail from Oregon.

lVlail forwarding is a process about which debtor knows nothing other
than that mail addressed to a former address is resent to a person’s new

address.

While debtor resided in Oregon, he received mail at his former
Port|and address. When debtor left Oregon, he filed the official U.S. Postal
service Change of Address form in December 2017.

Since then debtor has received his mail from his previous Oregon
address without incident, but without considering the length of time the

process was taking.

For reasons unknown to debtor, forwarding of his mail in the present
circumstance has gone amiss with an unexpected delayll Debtor made

inquiry and investigated the incident

The time to forward mail apparently relies on many protocol factors,
because forwarding is a free service. Various commitments of the Postal
Service which are not operated in any choreographed manner must
coalesce for mail fon/varding to be successful. The process is not assigned
to any individual at the Port|and l\/lain Post Office and there is no set time

requirement for when mail forwarding need happen.
16-ap-3114 Extend Trial Date ~pg. 3

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17€\!~@/
However, one thing is certain, Pete Szanto had no involvement in the

forwarding process of the mail attached as [EXH|B|T A].

ln any event, the Tax Court scheduling of trial for December 10, 2018
creates conflict problems with the trial in this action, 16~ap-3114, which is
scheduled to commence on December 11, 2018. The reason for this conflict

is because on both previous occasions when debtor and his spouse

appeared in Tax Court, each trial took 3 da .

A 3 day Tax Court trial commencing on December 10"‘ would conflict
with the trial in this matter scheduled for December 11"‘ and 12‘h. Thereon,

debtor must ask for a continuance of the trial in the case herein.

Debtor believes it appropriate to ask for a continuance herein,
because the Tax Court trialrelates to Tax Year 2010 and has been pending
much longer than the instant case. Also, the Tax Court conducts hearings in
Port|and only twice a year, making continuance in that matter far longer
than in this case (lE, the Tax Court trial would need to be put over until July
2019)

For these reasons, as well, debtor must ask for a continuance

The good cause is explained in debtor’s declaration, but focuses on
his inability adequately to prepare for two lengthy and complex trials which

overlap.
16-ap-3114 Extend Trial Date - pg. 4

 

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Additionally, without considering any other matter, the fact that Tax
Court scheduling fell on the exact day to conflict with the trial herein is not

any matter over which debtor had any contro|.

4. MEMORANDUM

FRCP 6(b) addresses extensions of time:

“(1) In General. When an act may or must be done within a
specified time, the court may, for good cause, extend

the time:
(A) with or without motion or notice if the court

acts, or if a request is made, before the

original time or its extension expires”

Appellant has found no local rule which alters FRCP 6. The
current trial date is 12-11-18. And this application is sent for filing on 9-24=
18.

Thus, since this motion is made prior to the due date of the trial

the only requirement for extension is good cause.

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a. First Good Cause - Cannot Prepare for Two Trials At Once

ln this circumstance, the fundamental good cause for postponement
is the impossibility of preparing for two trials at once. Tria| preparation in
both of the trials in issue here will be complex and time consuming

Debtor cannot even begin to quantify the amount of time which will be
necessary to prepare for each of the trials, but it is certain that both trials
will require extensive research and strategizing so as to organize a clear

and complete presentation.

Debtor argues that it will be impossible to prepare for both trials

simultaneously

impossibility creates good cause when the delay is adequately shown
and demonstrated to the court. Fairbanks Publishing v. Francisco (1964)
390 P.2d 784.

Here, debtor’s demonstration is plain on its face. Two events of equal
complexity and similar difficulty of preparation arise at the same time. Each
event, by itself, is daunting. Thus, the proof of impossibility is the fact that
the two events cannot be prepared for simultaneously without causing
inadequate ability and opportunity to prepare for either one successfully.

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b. Second Good Cause - Imgossibilitg
gf_Being in Two Places Simultaenouslv

The fact that the two trials have two overlapping days creates an
impossibility of a different type. This impossibility is a matter of which this

Court can take judicial notice.

Judicial notice can be taken of matters of common knowledge which
cannot be disputed. The Court is requested to take judicial notice of the
fact that it is impossible to be in two places at once: this debtor cannot
simultaneously be at both the Bankruptcy Court and the Tax Court on
December 11 and 12 - which are the days the two trials are scheduled to
overlap. As a matter of fact, no one can be simultaneously in two places
at once, which is what would be required if the two trials were required to

go forward at the same time.

5. Declaration of Peter Szanto

l\/iy name is Peter Szanto.
i am the plaintiff herein and this is my truthful declaration.
l received [EXHlBlT A] notice of trial in the Tax Court on 9-19-18.

-The lateness of that mailing to me was not of my making, but rather

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caused by the delay in forwarding by the U S Postal Service.

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5. i have previously participated in two Tax Court trials, both of
which took three days.

6. l anticipate the [EXHlBlT A] trial to take at least three days,
because it is even more complex that the previous two trials which
l have had in the Tax Court.

7. Therefore, it is possible that the Tax Court trial may take 4 or 5
days.

8. Previously, preparing for Tax Court trial took an incredibly amount
of work and preparation.

9. in this instance, the issues are even more complicated in the Tax
Court and l anticipate that preparation will take longer than it
has before.

10. lt would be absolutely impossible for me to prepare for Tax
Court trial and trial herein at the same time, because both tasks
are difficult and both will take an extended amount of time.

11. l am absolutely certain that l cannot prepare for both trials
simultaneousiy.

12. Likewise, the problem of doing both trials on overlapping days
is also impossible - i cannot be in two places at one.

13. [EXHlBlT A] relates to both me and lVlrs. Szanto.

14. From previous Tax Court experience, both parties are required
to be present at the time of, and throughout, tria|; so there is no

possibility of each of us doing one of the triais.

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15. After receiving the 4rial Notice, l called the Port|and i\/lain Post
Office.

16. l conversed with Postmaster Steelman for about 5 minutes as tc
the delay in mail fon/varding.

17. He had no definitive explanation, but merely stated that mail is
sometimes delayed for unknown reasons

18. This is the extent to which l can be definitive about the delay

19. But, to re-emphasize, the delay was not of my making.

20. Thereon, i pray the court extend the date of the trial herein so
that l am/'\€?rf‘frairiy and unnecessarily burdened by two trials at the

exact same time.

21. l declare under penalty of perjury under the laws of the United
States that the foregoing is true and correct. Signed at Los Angeles

California.

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~»M»¢‘”

DATED 9-22-2013 j:\/~‘ Peter szanto

6. Conc|usion

For the reasons expressed, debtor prays rescheduling of the trial

date.

”i
DATED 9-22-2018 §<’\at Peter Szanto

16-ap-31 14 Extend Trial Date ~ pg. §

 

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Proof of Service

le name is i\/laquisha Reynolds, i am over 21 years of age and not a
party to the within action. My business address is PO Box 14894, irvine CA
92623. On the date indicated below, l personally served the within:

Motion
by e-mail to Mr. Olsen and lVir. Henderson at:
nhenderson@portlaw.com

l declare under penalty of perjury under the laws of the United States

that the foregoing is true and correct. Signed at Pe#laee-QR. b 95 »:lq~»»a¢m§.;

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Daied 9-22~2018 /s/ 24622,® 22 222

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16-ap-3114 Extend Trial Date - pg. 10

 

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UNlTED STATES TAX COURT
Washington, D.C. 20217

July n, 2018

 

Susan Szanto & Peter Szanto,
Petitioners,
v. Docket No. 9519-16.

COMMISSIONER OF INTERNAL REVENUE,

Respondent

\./VV\./VVVVV\/VVV

Trial At: Courtroom 13B.
United States District Court
Mark O. Hattield U.S. Crthse
1000 Southwest Third Avenue
Portland, on 97204

NOTICE SETTING CASE FOR TRIAL

 

The parties are hereby notified that this ease is set for trial at the 'l`rial Session beginning at 10:00 AM on
Monday, December 10, 2018 . The calendar for that Session will be called at that date and time, and the parties are
expected to be present and to be prepared to try the case. Your failure to appear may result in dismissal of the case
and entry of decision against you.

The Court will set the time for each trial at the end of the calendar call. In setting trial times the Court
attempts to accommodate the parties, but the final determination of trial times rests in the Court’s discretion.

Your attention is called to the requirements set out in the Standing Pretrial Order that is served with this
notice, including the following:

c Stipulation gf Faets. If the case cannot be settled, the parties, before trial, must agree in writing to all
facts and all documents about which there should be no disagreement The stipulation signed by all parties
should be submitted at the calendar call on December 10, 2018 .

¢ Exchange of Documents. No later than Novernber 26 2018 each party must provide to the other all the
documents or materials that the party expects to offer into evidence at trial and that are not included in the
Stipulation.

 

¢ Pretriai Memorandum and Witness Identilication. No later than November 26 2018 each party must
serve on the other party and tile a pretrial memorandum that, among other things, identifies the witnesses
that the party intends to call to testify at trial.

 

The parties should contact each other promptly and cooperate fully so that the necessary steps can be taken
to comply with these requirementsl Your failure to cooperate may also result in dismissal of the case and entry
of decision against you.

Stephanie A. Servoss
Clerk of the Court

 

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(949) 887-2369

  

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